Case No. 1:25-cv-01163-CNS          Document 34    filed 04/21/25   USDC Colorado        pg 1
                                            of 2




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                            JUDGE CHARLOTTE N. SWEENEY


Criminal Action:     25-cv-01163-CNS                    Date: April 21, 2025
Courtroom Deputy:    Julie Dynes                        Court Reporter: Sarah Mitchell

               Parties                                              Counsel

 D.B.U.                                                         Laura Lunn
 R.M.M.                                                      Timothy Macdonald
                                                             Emma Mclean-Riggs
                                                                 Sara Neel

                         Petitioners-Plaintiffs

 v.

 DONALD J. TRUMP                                                Kevin Traskos
 PAMELA BONDI                                                   Michael Velchik
 KRISTI NOEM
 US DEPARTMENT OF HOMELAND SECURITY
 TODD LYONS
 US IMMIGRATION AND CUSTOMS
 ENFORCEMENT
 MACRO RUBIO
 US STATE DEPARTMENT
 ROBERT GAUDIAN
 DAWN CEJA
                 Respondents-Defendants



                                   COURTROOM MINUTES


MOTION HEARING RE: TEMPORARY RESTRAINING ORDER

Court in Session: 9:01 a.m.

Appearance of counsel.
Case No. 1:25-cv-01163-CNS      Document 34      filed 04/21/25   USDC Colorado         pg 2
                                        of 2




Argument given on [2] Motion for Temporary Restraining Order given by Mr. Macdonald and
Mr. Velchik with questions from the Court.

ORDERED: [2] Motion for Temporary Restraining Order is TAKEN UNDER
         ADVISEMENT, written order to issue.

Court in Recess: 10:05 a.m.       Hearing concluded.          Total time in Court:   01:04
